     Case 6:16-cv-06408-DGL-JWF Document 35 Filed 09/17/18 Page 1 of 3




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



JESSIE MCDJTYRE,



                                 Plaintiff,

                                                           VERDICT FORM


                                                           I6-CV-6408L


                     V.



ROCHESTER CITY POLICE OFFICER JOEL RASPER and
ROCHESTER CITY POLICE OFFICER JAMEL MATTOX,




                                 Defendants.




1.     Do you find, by a preponderance of the evidence, that defendant OFFICER JOEL

       HASPER subjected plaintiff to excessive force in violation of plaintiffs Fourth

       Amendment Constitutional rights on December 23, 2015?



              YES                                          NO    Jr

Proceed to Question 2.
      Case 6:16-cv-06408-DGL-JWF Document 35 Filed 09/17/18 Page 2 of 3



2.         Do you find, by a preponderance of the evidence, that defendant OFFICER JAMEL

           MATTOX subjected plaintiff to excessive force in violation of plaintiffs Fourth

           Amendment Constitutional rights on December 23,2015?




                 YES                       .                      NO     Y


If you answered "YES" to one or both of Questions 1 and 2, proceed to Question 3.

If you answered "NO" to both Question 1 and Question 2, do not answer any further questions.
Sign and date the bottom of this form and inform the Court that you have reached a unanimous
verdict.




3.         What amount, if any, in compensatory damages do you find wiU fairly and adequately

           compensate plaintiff for the damages, if any, that were proximately caused by

           defendant(s) in violation of his Fourth Amendment Constitutional rights?




Proceed to Question 4.
     Case 6:16-cv-06408-DGL-JWF Document 35 Filed 09/17/18 Page 3 of 3




4.     Punitive Damages


       As to each defendant who you found to have violated the Constitutional rights of the

plaintiff (that is, as to each defendant for whom you answered "YES" in Questions 1 and/or

2), you may, in your discretion, make an award of punitive damages. If you wish to make

such an award, please enter it below.




       A.     OFFICER JOEL HASPER:                                 $




       B.     OFFICER JAMEL MATTOX:




       Please sign and date the verdict form and inform the Judge that you have arrived at a

unanimous verdict.




       I CERTIFY THE ABOVE VERDICT TO BE TRUE AND ACCURATE AND TO


CONSTITUTE THE VERDICT OF ALL                 ^     JURORS.



                                                    FOREPERSON




Dated: Rochester, New York
       September /3 ,2018
